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                   UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                    WESTERN DIVISION AT MEMPHIS
________________________________________________________________

FRANKIE JEAN COLLINS, as           )
Biological Daughter and            )
on behalf of the Wrongful          )
Death beneficiaries of             )
ELNORA PARRETT, deceased,          )
                                   )
     Plaintiff,                    )
                                   )
v.                                 )     2:12-cv-2953-JPM-tmp
                                   )
SOUTH PARKWAY ASSOCIATES,          )
L.P., d/b/a PARKWAY HEALTH &       )
REHABILITATION CENTER,             )
                                   )
     Defendant.                    )


                                 JUDGMENT


JUDGMENT BY COURT. This action having come before the Court on
the parties’ Joint Stipulation of Dismissal with Prejudice (ECF
No. 10), filed June 12, 2013,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, pursuant to
Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and in
accordance with the Joint Stipulation of Dismissal (ECF No. 10),
all claims by Plaintiff against Defendant be and hereby are
DISMISSED WITH PREJUDICE. Defendant is responsible for the
statutory costs assessed by the Clerk of the Circuit Court of
Tennessee for the Thirtieth Judicial District at Memphis in
connection with the initial filing of this lawsuit, and each
party shall bear its own discretionary costs under Federal Rule
of Civil Procedure 54 and Tennessee Rule of Civil Procedure 54.

APPROVED:

s/ JON P. McCALLA
CHIEF U.S. DISTRICT JUDGE

June 12, 2013
Date
